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                             IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION


YA YA’S PLACE, LLC                                      §
                Plaintiff                               §
                                                        §
v.                                                      §
                                                        §    CIVIL ACTION NO. 4:17-CV-00540-Y
                                                        §
                                                        §
SENTINEL INSURANCE COMPANY,
                                                        §
LTD.
                                                        §
                  Defendant                             §
______________________________________________________________________________

          PLAINTIFF YA YA’S PLACE LLC’S FIRST AMENDED COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Ya Ya’s Place, LLC, (hereinafter referred to as “Plaintiff”), complaining

of Sentinel Insurance Company, Ltd., (hereinafter referred to as “Defendant”) and for cause of

action would respectfully show unto this Honorable Court and Jury as follows:

                                       JURISDICTION & VENUE

1. This Honorable Court has jurisdiction and venue is proper because (1) one or more acts or

     omissions forming the basis for liability occurred in Wise County, Texas, (2) Defendant is a

     foreign insurance company that engages in the business of insurance in the State of Texas, and

     (3) Plaintiff’s causes of action arise out of Defendant’s business activities in the State of Texas,

     and (4) Plaintiff seeks monetary relief of over $100,000.00 exclusive of interests and costs.

2. Venue lies in the U.S. Northern District of Texas, the district in which the claim arose,
   pursuant to 28 U.S.C. § 1391(b).
                                                   PARTIES


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3. Plaintiff is a citizen of the State of Texas because it is a Texas Limited Liability Company with

    its principal place of business in Wise County, Texas.

4. Sentinel Insurance Company, Ltd. is a citizen of the State of Connecticut because it is

    incorporated under the laws of and has its principal place of business in Connecticut engaging

    in the business of insurance in the State of Texas.

                                       FACTUAL BACKGROUND

5. Plaintiff purchased a policy from Defendant Sentinel Insurance Company, Ltd., (hereinafter

    referred to as “the Policy”), which was in effect at the time of loss.

6. The Policy was purchased to insure Plaintiff’s property, (hereinafter referred to as “the

    Property”), which is located at 1006 Halsell Street, Bridgeport, Texas 76426.

7. Defendant Sentinel Insurance Company, Ltd. and/or its agent sold the Policy insuring the

    Property to Plaintiff.

8. Plaintiff is a “consumer” as defined under the Texas Deceptive Trade Practices Act (“DTPA”)

    because it is an individual who sought or acquired by purchase or lease, goods or services, for

    commercial, personal or household use.

9. On or about November 25, 2015, Plaintiff experienced a severe weather related event which

    caused substantial damage to the Property and surrounding homes and businesses in the area.

    The Property’s damage constitutes a covered loss under the Policy issued by Defendant

    Sentinel Insurance Company, Ltd.. Plaintiff subsequently opened a claim on November 25,

    2015 and Defendant Sentinel Insurance Company, Ltd. assigned an adjuster to adjust the claim.

10. Thereafter, Defendant Sentinel Insurance Company, Ltd. wrongfully underpaid Plaintiff’s

    claim and refused to issue a full and fair payment for the covered loss as was rightfully owed

    under the Policy.


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11. After the severe hail and wind storm, Plaintiff reported the claim to Defendant. After

    conducting an inadequate inspection, Defendant sent correspondence to Plaintiff outlining the

    claim. The correspondence essentially stated that Plaintiff's property sustained zero hail

    damage, and that the hail damage found on the structure was "conveniently" consistent with

    hail damage from a prior storm outside the specified timeframe of interest.” Defendant used

    this explanation as a basis to under-adjust Plaintiff’s claim below the policy deductible.

    Therefore, Defendant did not issue any payment on the claim. However, this explanation fails

    to explain how it arrived at its conclusion of “hail damage from a prior storm outside the

    specified timeframe of interest." Defendant fails to provide a reasonable explanation that

    explains its findings or any other causal link thereof. Such conduct by Defendant violates Tex.

    Ins. Code §541.060(a)(3), which requires Defendant to provide Plaintiff with a reasonable

    explanation of the basis in policy, in relation to the facts or applicable law, for its settlement

    offer.

12. Further, Defendant concedes hail and/or wind damage to the “front metal panel awning,”

    however, essentially “wear and tear” to other parts of the roof such as the modified bitumen

    material. Defendant was aware that Plaintiff’s policy does not provide coverage for “wear and

    tear damage” and thus wrongfully and intentionally adjusted Plaintiff’s damages to reflect such

    damage. This shows Defendant’s intent to wrongfully overlook clear wind and hail damage for

    the sole purposes of escaping liability. Such conduct violates the Deceptive Trade Practices

    Act (DTPA), Texas Insurance Code (TIC), and the Texas Prompt Payment of Claims Act

    (TPPOC).

13. Frustrated by Defendant’ failure to adequately assess his claim, Plaintiff was forced to bear his

    own costs and retain the services of a public adjuster to assess the damages to his property.


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    The investigation by Plaintiff’s public adjuster revealed that the damage to the property was in

    the amount of $21.569.40. The gross disparity between Defendant’ RCV of $1,927.67 and the

    public adjuster’s RCV of $21,569.40 highlights Defendant’ failure to attempt in good faith to

    effectuate a prompt, fair, and equitable settlement of Plaintiff’s claim once its liability became

    reasonably clear. Tex. Ins. Code §541.060(a)(2)(A).

14. Plaintiff’s public adjuster’s estimate contains several pages of photos of hail damage to the

    entire roof, including the modified bitumen material, front metal panel awning, roof vent, ridge

    cap, and other vital components of the roof. Based on the investigation, the public adjuster

    concluded that the roof required complete removal and replacement. The public adjuster’s

    estimate also contains numerous photos of interior damage caused by a storm-created opening,

    resulting in severe water damage. Defendant’ estimate, on the other hand, accounted for only

    the roof damage and minimal interior damage. Such conduct by Defendant further violates

    Tex. Ins. Code §541.060(a)(2)(A); (7) for failure to conduct a reasonable investigation and

    failing in good faith to effectuate a prompt, fair, and equitable settlement of Plaintiff’s claim

    once its liability became reasonably clear.

15. Defendant made numerous errors in estimating the value of Plaintiff’s claim, as exhibited by

    its assigned adjuster’s method of investigation and estimation of Plaintiff’s loss, all of which

    were designed to intentionally minimize and underpay the loss incurred by Plaintiff.

    Defendant’s assigned adjuster failed to fully quantify Plaintiff’s covered losses, thus

    demonstrating that Defendant’s assigned adjuster did not conduct a thorough investigation of

    Plaintiff’s claim and/or intentionally adjusted Plaintiff’s claim improperly.

16. Specifically, Defendant, independently and through its assigned adjuster, intentionally and

    knowingly conducted a substandard investigation of the Property. This is evidenced by


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    Defendant’s assigned adjuster’s estimate, which failed to include all necessary items Plaintiff

    is entitled to under the Policy to place the Property in a pre-loss condition. These necessary

    items are covered and required under the International Building Code and/or International

    Residential Code, as adopted by the State of Texas in 2001.

17. In addition, the Occupational Safety and Health Administration (“OSHA”) dictates, when

    working on buildings with “unprotected sides and edges” that “each employee on a

    walking/working surface (horizontal and vertical surface) with an unprotected side or edge

    which is 6 feet (1.8m) or more above a lower level SHALL be protected from falling by the

    use of guardrail systems, safety net systems, or personal fall arrest systems.” Occupational

    Safety and Health Act of 1970 § 1926.501(b)(1) (emphasis added). This protection was

    intentionally not included or reflected within the scope of work provided by Defendant for

    Plaintiff’s damages to the Property as an attempt to further deny Plaintiff benefits owed under

    the Policy.

18. Defendant’s estimate did not allow for adequate funds to cover the cost of repairs and therefore

    grossly undervalued all of the damages sustained to the Property. As a result of Defendant’s

    conduct, Plaintiff’s claim was intentionally and knowingly underpaid.

19. Defendant’s assigned adjuster acted as an authorized agent of Defendant Sentinel Insurance

    Company, Ltd.. Defendant’s assigned adjuster acted within the course and scope of their

    authority as authorized by Defendant Sentinel Insurance Company, Ltd.. Plaintiff relied on

    Defendant and Defendant’s assigned adjuster to properly adjust the claim regarding the

    Property and to be issued payment to fix such damage, which did not happen and has not been

    rectified to date.




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20. Defendant Sentinel Insurance Company, Ltd. failed to perform its contractual duties to

    adequately compensate Plaintiff under the terms of the Policy. Specifically, Defendant refused

    to pay the full proceeds owed under the Policy. Due demand was made by Plaintiff for proceeds

    to be in an amount sufficient to cover the damaged Property.

21. Defendant and/or Defendant’s assigned agent sold the Policy to Plaintiff, making various

    statements and representations to Plaintiff that the Property would be covered. Relying on the

    promises and representations made by Defendant and/or Defendant’s assigned agent, Plaintiff

    filed a claim under the Policy with the belief that the Property would be covered after a severe

    weather event such as the one that damaged the Property.

22. All conditions precedent to recovery under the Policy had, and have, been carried out and

    accomplished by Plaintiff.

23. As a result of Defendant’s wrongful acts and omissions, Plaintiff was forced to retain the

    professional services of McClenny Moseley & Associates, PLLC, who is representing Plaintiff

    with respect to these causes of action.

                                          CAUSES OF ACTION

                              COUNT ONE: BREACH OF CONTRACT

24. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the

    foregoing paragraphs.

25. Defendant Sentinel Insurance Company, Ltd.’s conduct constitutes a breach of the insurance

    contract made between Defendant Sentinel Insurance Company, Ltd. and Plaintiff. According

    to the Policy, which Plaintiff purchased, Defendant Sentinel Insurance Company, Ltd. had the

    absolute duty to investigate Plaintiff’s damages, and pay Plaintiff policy benefits for the claims

    made due to the extensive storm-related damages.


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26. As a result of the storm-related event, Plaintiff suffered extreme weather related damages.

    Despite objective evidence of weather related damages provided by Plaintiff and its

    representatives, Defendant Sentinel Insurance Company, Ltd. breached its contractual

    obligations under the Policy by failing to pay Plaintiff cost related benefits to properly repair

    the Property, as well as for related losses associated with the subject loss event. As a result of

    this breach, Plaintiff has suffered additional actual and consequential damages.

   COUNT TWO: VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES
                               ACT

27. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the

    foregoing paragraphs.

28. Defendant and/or its assigned adjuster engaged in false, misleading, or deceptive acts or

    practices that constitute violations of the Texas Deceptive Trade Practices Act (“DTPA”),

    which is codified in the Texas Business and Commerce Code (“TEX. BUS. & COM. CODE”),

    including but not limited to:

                 A. Representing that an agreement confers or involves rights, remedies, or

                      obligations which it does not have or involve, or which are prohibited by law

                      (TEX. BUS. & COM. CODE § 17.46(b)(12));

                 B. Misrepresenting the authority of a salesman, representative, or agent to

                      negotiate the final terms of a consumer transaction (§ 17.46(b)(14));

                 C. Failing to disclose information concerning goods or services which were known

                      at the time of the transaction, and the failure to disclose such information was

                      intended to induce the consumer into a transaction into which the consumer

                      would not have entered had such information been disclosed (§ 17.46(b)(24));



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                 D. Using or employing an act or practice in violation of the Texas Insurance Code

                      (§ 17.50(a)(4));

                 E. Unreasonably delaying the investigation, adjustment, settlement offer and

                      prompt resolution of Plaintiff’s claim (TEX. INS. CODE § 541.060(a)(2)-(5));

                 F. Failure to properly investigate Plaintiff’s claim (§ 541.060(7)); and/or

                 G. Hiring and relying upon a biased adjuster, in this case Defendant’s assigned

                      adjuster, to obtain a favorable, results-oriented report, and to assist Defendant

                      in severely underpaying and/or denying Plaintiff’s damage claim (TEX. BUS.

                      & COM. CODE § 17.46(31)).

29. As described in this Original Petition, Defendant Sentinel Insurance Company, Ltd.

    represented to Plaintiff that its Policy and Sentinel Insurance Company, Ltd.’s adjusting and

    investigative services had characteristics or benefits that it actually did not have, which gives

    Plaintiff the right to recover proceeds. TEX. BUS. & COM. CODE § 17.46(b)(5).

30. As described in this Original Petition, Defendant Sentinel Insurance Company, Ltd.

    represented to Plaintiff that its Policy and Sentinel Insurance Company, Ltd.’s adjusting and

    investigative services were of a particular standard, quality, or grade when they were of

    another, which stands in violation of § 17.46 (b)(7).

31. By Defendant Sentinel Insurance Company, Ltd. representing that they would pay the entire

    amount needed by Plaintiff to repair the damages caused by the weather related event and then

    not doing so, Defendant has violated §§ 17.46 (b)(5), (7), (12).

32. Defendant Sentinel Insurance Company, Ltd. has breached an express warranty that the

    damage caused by the storm-related event would be covered under Policy. This breach entitles

    Plaintiff to recover under §§ 17.46 (b) (12), (20); 17.50 (a)(2).


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33. Defendant Sentinel Insurance Company, Ltd.’s actions, as described herein, are

    unconscionable in that Defendant took advantage of Plaintiff’s lack of knowledge, ability, and

    experience to a grossly unfair degree. Therefore, Defendant’s unconscionable conduct gives

    Plaintiff the right to relief under § 17.50(a)(3).

34. Defendant Sentinel Insurance Company, Ltd.’s conduct, acts, omissions, and failures, as

    described in this Original Petition, are unfair practices in the business of insurance and are in

    violation of § 17.50 (a)(4).

35. Plaintiff is a consumer, as defined under the DTPA, and relied upon these false, misleading,

    and/or deceptive acts and/or practices, made by Defendant Sentinel Insurance Company, Ltd.,

    to its detriment. As a direct and proximate result of Defendant’s collective acts and conduct,

    Plaintiff has been damaged in an amount in excess of the minimum jurisdictional limits of this

    Court, for which Plaintiff now sues. All of the aforementioned acts, omissions, and failures of

    Defendant are a producing cause of Plaintiff’s damages which are described in this Original

    Petition.

36. Because Defendant’s collective actions and conduct were committed knowingly and

    intentionally, in addition to all damages described herein, Plaintiff is entitled to recover mental

    anguish damages and additional penalty damages, in an amount not to exceed three times such

    actual damages. § 17.50(b)(1).

37. As a result of Defendant’s unconscionable, misleading, and deceptive actions and conduct,

    Plaintiff has been forced to retain the legal services of the undersigned attorneys to protect and

    pursue these claims on its behalf. Accordingly, Plaintiff also seeks to recover its costs and

    reasonable and necessary attorney’s fees as permitted under § 17.50(d), as well as any other

    such damages to which Plaintiff may show itself to be justly entitled by law and in equity.


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           COUNT THREE: VIOLATIONS OF THE TEXAS INSURANCE CODE

38. Plaintiff hereby incorporates by reference all facts and circumstances set forth within the

    foregoing paragraphs.

39. Defendant and/or its assigned adjuster’s actions constitute violations of the Texas Insurance

    Code (“TEX. INS. CODE”), Chapters 541 and 542, including but not limited to:

                 A. Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the

                      coverage at issue (TEX. INS. CODE § 541.060(a)(1));

                 B. Failing to attempt, in good faith, to effectuate a prompt, fair and equitable

                      settlement of a claim with respect to which the insurer’s liability has become

                      reasonably clear (§ 541.060(a)(2)(A));

                 C. Failing to promptly provide to a policyholder a reasonable explanation of the

                      basis in the policy, in relation to the facts or applicable law, for the insurer’s

                      denial of a claim or for the offer of a compromise settlement of a claim (§

                      541.060(a)(3));

                 D. Failing to affirm or deny coverage of Plaintiff’s claim within a reasonable time

                      and failing within a reasonable time to submit a reservation of rights letter to

                      Plaintiff (§ 541.060(a)(4));

                 E. Refusing, failing, or unreasonably delaying a settlement offer on the basis that

                      other coverage is available (§ 541.060 (a)(5));

                 F. Refusing, to pay a claim without conducting a reasonable investigation with

                      respect to the claim (§ 541.060(a)(7));

                 G. Forcing Plaintiffs to file suit to recover amounts due under the policy by

                      refusing to pay all benefits due (§ 542.003(b)(5));


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                 H. Misrepresenting an insurance policy by failing to disclose any matter required

                      by law to be disclosed, including a failure to make such disclosure in

                      accordance with another provision of this code (§ 541.061(5));

                 I. Engaging in false, misleading, and deceptive acts or practices under the DTPA

                      (§541.151(2));

                 J. Failing to acknowledge receipt of the claim, commence any investigation of the

                      claim, and request from the claimant all items, statements, and forms the insurer

                      reasonably believes at that time will be required from the claimant no later than

                      the 15th day after the receipt of notice of the claim (§ 542.055);

                 K. Failing to notify the claimant in writing of the acceptance or rejection of a claim

                      no later than the 15th business day after the insurer receives all items,

                      statements, and forms required by the insurer to secure a final proof of loss (§

                      542.056(a));

                 L. Failing to state the reasons for rejection (§ 542.056(c));

                 M. Failing to notify the claimant of the reasons that the insurer needs 45 days in

                      additional time to accept or reject the claim (§ 542.056(d));

                 N. Failing to pay a claim not later than the 5th business day after the date of notice

                      of acceptance was made (§ 542.057); and/or

                 O. Failing to pay a valid claim after receiving all reasonably requested and required

                      items from the insured. (§ 542.058(a)).

40. By its acts, omissions, failures and conduct, Defendant Sentinel Insurance Company, Ltd. has

    engaged in unfair and deceptive acts and practices in the business of insurance. Plaintiff, the




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    insured and beneficiary, has a valid claim as a result of its detrimental reliance upon Defendant

    Sentinel Insurance Company, Ltd.’s unfair or deceptive acts or practices. § 541.151(2).

41. Defendant’s aforementioned conduct compelled Plaintiff to initiate this lawsuit to recover

    amounts due under the Policy, by offering substantially less than the amount ultimately

    recovered. Defendant refused to offer more than the grossly undervalued estimates prepared

    by Defendant Sentinel Insurance Company, Ltd. and/or Defendant’s assigned adjuster, despite

    knowing the actual damages were much greater than what was offered. Defendant’s continued

    refusal to offer compelled Plaintiff to file suit. § 542.003(5).

42. Since a violation of the Texas Insurance Code is a direct violation of the DTPA, and because

    Defendant Sentinel Insurance Company, Ltd.’s actions and conduct were committed

    knowingly and intentionally, Plaintiff is entitled to recover, in addition to all damages

    described herein, mental anguish damages and additional penalty damages, in an amount not

    to exceed three times the amount of actual damages, for Defendant having knowingly,

    intentionally and/or negligently committed said actions and conduct. § 541.152.

43. As a result of Defendant Sentinel Insurance Company, Ltd.’s unfair and deceptive actions and

    conduct, Plaintiff has been forced to retain the legal services of the undersigned attorneys to

    protect and pursue these claims on its behalf. Accordingly, Plaintiff also seeks to recover its

    costs and reasonable and necessary attorney’s fees as permitted under TEX. BUS. & COM.

    CODE § 17.50(d) or TEX. INS. CODE § 541.152 and any other such damages to which

    Plaintiff may show itself justly entitled by law and in equity.

                  COUNT FOUR: BREACH OF THE COMMON LAW DUTY
                         OF GOOD FAITH & FAIR DEALING

44. Plaintiff hereby incorporates by reference all facts and circumstances in the foregoing

    paragraphs.
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45. From and after the time Plaintiff’s claim was presented to Defendant Sentinel Insurance

    Company, Ltd., the liability of Defendant to pay the full claim in accordance with the terms of

    the Policy was more than reasonably clear. However, Defendant has refused to pay Plaintiff in

    full, despite there being no basis whatsoever on which a reasonable insurance company would

    have relied on to deny full payment. Defendant’s conduct constitutes a breach of the common

    law duty of good faith and fair dealing. See Viles v. Security National Ins. Co., 788 S.W.2d

    556, 567 (Tex. 1990) (holding that an insurer has a duty to its insureds to “investigate claims

    thoroughly and in good faith” and an insurer can only deny a claim after a thorough

    investigation shows that there is a reasonable basis to deny that claim).

46. For the breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

    compensatory damages, including all forms of loss resulting from Defendant’s breach of the

    duty, such additional costs, economic hardship, losses due to nonpayment of the amount owed

    to Plaintiff, and/or exemplary damages for emotional distress.

                                   COUNT FIVE: WAIVER & ESTOPPEL

47. Plaintiff hereby incorporates by reference all facts and circumstances in the foregoing paragraphs.

48. Defendant has waived and is estopped from asserting any defenses, conditions, exclusions, or

    exceptions to coverage not contained in any Reservation of Rights or denial letters to Plaintiff.



                                                 DAMAGES

49. Plaintiff will show that all of the aforementioned acts, taken together or singularly, constitute

    the producing causes of the damages sustained by Plaintiff.

50. For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff’s bargain, which is

    the amount of Plaintiff’s claim, together with attorney’s fees.


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51. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff is

    entitled to actual damages, which include the loss of the benefit that should have been paid

    pursuant to the Policy, court costs and attorney’s fees. For knowing conduct of the acts

    complained of, Plaintiff asks for three times Plaintiff’s actual damages. TEX. INS. CODE §

    541.152.

52. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is entitled

    to the amount of Plaintiff’s claim, interest on the claim at the rate of eighteen (18) percent per

    year, together with attorney’s fees. § 542.060.

53. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

    compensatory damages, including all forms of loss resulting from the insurer’s breach of duty,

    such as additional costs, economic hardship, losses due to nonpayment of the amount the

    insurer owed, and/or exemplary damages for emotional distress.

54. For the prosecution and collection of this claim, Plaintiff has been compelled to engage the

    services of the law firm whose name is subscribed to this pleading. Therefore, Plaintiff is

    entitled to recover a sum for the reasonable and necessary services of Plaintiff’s attorneys in

    the preparation and trial of this action, including any appeals to the Court of Appeals and/or

    the Supreme Court of Texas.

55. Defendant’s acts have been the producing and/or proximate cause of damage to Plaintiff, and

    Plaintiff seeks an amount in excess of the minimum jurisdictional limits of this Court.

56. More specifically, Plaintiff seeks monetary relief, including damages of any kind, penalties,

    costs, expenses, pre-judgment interest, and attorney’s fees, in excess of $200,000.00 but less

    than $1,000,000.00.

                             ADDITIONAL DAMAGES & PENALTIES


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57. Defendant’s conduct was committed knowingly and intentionally. Accordingly, Defendant is

    liable for additional damages under the DTPA, TEX. BUS. & COM. CODE § 17.50(b)(1), as

    well as all operative provisions of the Texas Insurance Code. Plaintiff is clearly entitled to the

    18% damages allowed under TEX. INS. CODE § 542.060.

                                           ATTORNEY’S FEES

58. In addition, Plaintiff is entitled to all reasonable and necessary attorney’s fees pursuant to the

    Texas Insurance Code, DTPA, and TEX. CIV. PRAC. & REM. CODE §§ 38.001-.005.

                                              JURY DEMAND

59. Plaintiff demands a jury trial, consisting of citizens residing in Wise County, Texas, and

    tenders the appropriate fee with this Original Petition.

                                                   PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays it be awarded all such relief

to which it is due as a result of the acts of Defendant Sentinel Insurance Company, Ltd., and for

all such other relief to which Plaintiff may be justly and rightfully entitled. In addition, Plaintiff

requests the award of treble damages under the Texas Insurance Code, attorney’s fees for the trial

and any appeal of this lawsuit, for all costs of Court on its behalf expended, for pre-judgment and

post-judgment interest as allowed by law, and for any other and further relief, either at law or in

equity, to which Plaintiff may show the itself to be justly entitled.



                                                        Respectfully submitted,

                                                        /s/ Chidi Oha___       ______ ____
                                                        McCLENNY MOSELEY & ASSOCIATES, PLLC
                                                        James M. McClenny
                                                        State Bar No. 24091857
                                                        J. Zachary Moseley
                                                        State Bar No. 24092863
                                                        Chidi Oha
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                                                        State Bar No. 24094877
                                                        411 N. Sam Houston Parkway E., Suite 200
                                                        Houston, Texas 77060
                                                        Principal Office No. 713-334-6121
                                                        Facsimile: 713-322-5953
                                                        James@mma-pllc.com
                                                        Zach@mma-pllc.com
                                                        Chidi@mma-pllc.com
                                                        Attorneys for Plaintiff


                                       CERTIFICATE OF SERVICE

        I hereby certify that on August 1, 2017, a true and correct copy of the foregoing was served on all
counsel of record, via the Court’s electronic filing system and/or facsimile as follows:

Buchanan Grabouski LLP
Brittan L. Buchanan
State Bar No. 03285680
Laura Grabouski
State Bar No. 24031595
Donna Peery
State Bar No. 00791752
9600 Great Hills Trail Suite 300 West
Austin, TX 78759
Tel: 512-225-2800
Facsimile: 512-225-2801
bbuchanan@bg-firm.com
lgrabouski@bg-firm.com
dpeery@bg-firm.com
Counsel for Defendant

                                                        /s/ Chidi A. Oha
                                                        Chidi A. Oha




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